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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )           CASE NO. 8:06CR116
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )                MEMORANDUM
                                               )                 AND ORDER
CHARMAR BROWN,                                 )
                                               )
                     Defendant.                )

       This matter is before the Court on the Motion Under 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct Sentence by a Person in Federal Custody (Filing No. 800) filed by

the Defendant, Charmar Brown, through counsel. Rule 4(b) of the Rules Governing

Section 2255 Proceedings for the United States District Courts requires initial review of a

§ 2255 motion, and describes the initial review process:

       The judge who receives the motion must promptly examine it. If it plainly
       appears from the motion, any attached exhibits, and the record of prior
       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion and direct the clerk to notify the moving party. If the
       motion is not dismissed, the judge must order the United States attorney to
       file an answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

                                  FACTUAL BACKGROUND

       Brown was found guilty after a jury trial of the following counts of the Fifth

Superseding Indictment: I (conspiracy to distribute or possession with intent to distribute

at least 1,000 kilograms of marijuana); II, IV, VII (using or carrying a firearm in relation to

a drug trafficking crime); and VI (possession with intent to distribute at least 100 kilograms

of marijuana). Brown was sentenced to the following terms of imprisonment: life on Counts

I and VI (grouped); 120 months on Count II, to be served consecutive to the terms imposed

on Counts I and VI; 300 months on Count IV, to be served consecutive to all other counts;
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and 300 months on Count VII, to be served consecutive to all other counts. Property was

also forfeited.

       Brown appealed, raising several grounds. The Eighth Circuit Court of Appeals

reversed Brown's conviction on Count VII, remanded his case for resentencing, and

otherwise affirmed this Court's judgment.

       Brown was resentenced, and Count VII was vacated. Brown was sentenced as he

was previously on the remaining counts. The United States Supreme Court denied

Brown's petition for a writ of certiorari. His timely § 2255 motion followed.

       Susan Bazis was retained as Brown's first attorney. On March 20, 2007, she was

granted leave to withdraw when she was appointed to serve as a Douglas County Court

Judge. Michael Levy was then appointed to represent Brown, and he represented Brown

at trial and sentencing, and he began the appeal process. Jessica Milburn was appointed

by the Eighth Circuit as co-counsel. Levy withdrew during the appeal process, and Jessica

Milburn was appointed as co-counsel and later as sole counsel when Levy withdrew. Levy

is now deceased. Milburn withdrew on July 24, 2009, approximately four months after the

Eighth Circuit issued its opinion and after Brown was resentenced. Tracy Hightower

entered her appearance on the day she filed Brown's § 2255 motion.

                                      DISCUSSION

       In his § 2255 motion, Brown argues that he received ineffective assistance of

counsel from trial counsel Bazis and Levy. Specifically, Brown argues: Bazis and Levy

failed to advise him he faced a life sentence and that he could be convicted based on co-

conspirator liability; Bazis represented him despite a conflict of interest; Bazis and Levy

failed to move for a dismissal based on speedy trial grounds; Levy failed to challenge

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evidence regarding Count II or, alternatively, to request a limiting instruction; and Levy

failed to challenge the murder cross reference, U.S.S.G. § 2D1.1(d)(1), that raised his base

offense level.

       In order to establish ineffective assistance of counsel, Brown must satisfy both

prongs of the test articulated by the United States Supreme Court in Strickland v.

Washington, 466 U.S. 668 (1984). The performance prong requires a showing that

counsel performed outside the wide range of reasonable professional assistance and

made errors so serious that counsel failed to function as the kind of counsel guaranteed

by the Sixth Amendment. Id. at 687-89. The prejudice prong requires a movant to show

that, but for the alleged “unprofessional errors, the result of the proceeding would have

been different.” Id. at 694.

I.     Advice Regarding Life Sentence and Coconspirator Liability

       Brown argues that both Bazis and Levy were ineffective in failing to advise him that

he faced life imprisonment on the drug counts under the sentencing guidelines and never

told him he faced consecutive 25-year sentences on the gun counts. He also argues his

attorneys never advised him he could be found guilty under coconspirator liability.

       The government will be ordered to answer this claim.

II.    Bazis's Alleged Conflict of Interest

       Brown argues that Bazis was ineffective for continuing to represent him despite a

conflict of interest. Specifically, Brown states that during the time she represented him she

simultaneously represented James Giles, a cousin of Brown's codefendant Dale Giles, in

state court and was being paid by Dale Giles for James Giles's representation. He also



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states that Bazis previously represented codefendants Dale Giles, Terrance Howard,

Evereada Kouris.

       The government will be ordered to answer this claim.

III.   Speedy Trial

       Brown argues Bazis and Levy were ineffective because they failed to move for a

motion to dismiss based on speedy trial grounds. Specifically, Brown argues that under

Zedner v. United States, 547 U.S. 489 (2006) the Court should have made specific findings

explaining why the ends of justice were served under 18 U.S.C. § 3161(h)(7). He asserts

the Court's general boilerplate language was insufficient. He also argues a Speedy Trial

Act violation requires dismissal.

       Brown references two orders granting continuances and excluding speedy trial time.

In the first order, the Court granted Bazis's motion to withdraw and continue, in which she

noted that new counsel would need time to prepare in light of her withdrawal. (Filing No.

352.) In granting the motion, the Court stated:

               In accordance with 18 U.S.C. § 3161(h)(A), I find that the ends of
       justice served by granting the requested continuance outweigh the best
       interest of the public and the defendant in a speedy trial because the case
       is so unusual or so complex, due to the number of defendants, the nature of
       the prosecution, or the existence of novel questions of fact or law, that it is
       unreasonable to expect adequate preparation for pretrial proceedings or for
       the trial itself within the time limits established by the Speedy Trial Act. 18
       U.S.C. § 3161(h)(8)(A) & (B)(ii). Further, the failure to grant a continuance
       would deny counsel for the defendant or the attorney for the Government the
       reasonable time necessary for effective preparation, taking into account the
       exercise of due diligence. 18 U.S.C. 3161(h)(8)(A) & (B)(iv). Thus, the time
       from March 20, 2007 and the date of the Rule 17.1 conference shall be
       deemed excludable time in any computation of time under the requirement of the
       Speedy Trial Act.

(Filing No. 366.)


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       The second order referenced by Brown followed a conference held under Federal

Rule of Criminal Procedure 17.1 attended by Brown. (Filing No. 399.) Three days after

the conference, based on discussion held during the conference, the Court specifically

stated its order was entered as a result of the conference and “to promote a fair and

expeditions trial.” In excluding additional speedy trial time, the Court stated:

       The time between May 1, 2007, and September 25, 2007, is excluded from
       the speedy trial calculation pursuant to 18 U.S.C. § 3161(h)(8)(A) because
       the ends of justice served by such an exclusion outweigh the interest of the
       public and of the Defendants in a speedy trial. Specifically, the case is so
       unusual and complex, due to the number of Defendants, the nature of the
       prosecution, and the existence of novel questions of fact or law, that it is
       unreasonable to expect adequate preparation for pretrial proceedings or for
       the trial itself within the time limits established by 18 U.S.C. § 3161(c)(1).

(Filing No. 401.)

       The Court acknowledges the preference under Zedner and its progeny for specific

findings other than statutory language. However, the Eighth Circuit has stated that

references to statutory subsections or recitation of statutory language suffices, particularly

when the facts are clear from the motion or other matter prompting the order. United

States v. Lucas, 499 F.3d 769, 782 (8th Cir. 2007); United States v. Gamboa, 439 F.3d 796,

803 (2006).

       Based on the Eighth Circuit's interpretation of Zedner together with the context of

the motion and conference that led to the orders in question, and the language in the order

filed as a result of the Rule 17.1 conference, Brown cannot prove either prong of

Strickland. Therefore, this claim is summarily denied.




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IV.    Evidence Regarding Count II; Limiting Instruction

       Brown claims that Levy was ineffective for failing to object under Federal Rule of

Evidence 404(b) to the testimony of witnesses Cyrinthia Williams and Clarence Dennis or,

alternatively, to request a limiting instruction.

       The government will be ordered to answer this claim.

V.     U.S.S.G. § 2D1.1(d)(1)

       Brown argues Levy was ineffective for not objecting to the murder cross reference,

§ 2D1.1(D)(1), which raised his base offense level to 43 based on Apprendi v. New Jersey,

530 U.S. 466 (2000) and its progeny.1 Brown argues that under Blakely v. Washington,

542 U.S. 296 (2004) the facts that led to the application of § 2D1.1(d)(1) should have been

found by a jury beyond a reasonable doubt as opposed to a judge by a preponderance of

the evidence.

       Dale Giles raised this argument on direct appeal. The Eighth Circuit noted that

because the jury found beyond a reasonable doubt that Giles was responsible for

distributing more than 1,000 kilograms of marijuana, he already faced a statutory life

sentence based on the drug quantity. Therefore, the court reasoned that “the district

court's finding did not result in a sentence beyond the statutory range authorized by the

verdict.” United States v. Brown, 560 F.3d 754, 771 (8th Cir. 2009), cert. denied sub nom.

Giles v. United States, 130 S. Ct. 1135 (2010).

       Brown was convicted by the jury of Counts I and VI, and with respect to Count I he

was found responsible beyond a reasonable doubt for 1,000 kilograms or more of

       1
       Levy did object to the application of § 2D1.1(d)(1), but on the grounds that the
evidence was not sufficient to trigger the upward adjustment. (Filing No. 599, at 2.)

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marijuana, resulting in a statutory term of 10 years to life imprisonment. His situation

mirrored Giles's.

       For the reasons discussed, Brown cannot prove the prejudice prong of the

Strickland test, and this claim will be summarily denied.

       IT IS ORDERED:

       1.     The Court has completed the initial review of the Defendant’s Motion Under

28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody (“§ 2255 motion”) (Filing No. 800);

       2.     Upon initial review, the Court summarily dismisses Claims III and V;

       3.     On or before May 31, 2011, the United States shall file an Answer to Claims

I, II, and IV and support its Answer with a brief;

       4.     On or before July 1, 2011, the Defendant may file a responsive brief.

       DATED this 28th day of April, 2011.

                                                     BY THE COURT:


                                                     s/Laurie Smith Camp
                                                     United States District Judge




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